 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 1 of 26




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
       Plaintiff,                                   NO. 3:16-CV-0235

              v.                                    (JUDGE CAPUTO)
JOHN WETZEL, et al.,
       Defendants.

                                  MEMORANDUM
      Presently before me is the Motion for Summary Judgment (Doc. 40) filed by
Defendants Michael Damore, Sean Downs, and Sharon Luquis (collectively,
“Defendants”). Two First Amendment claims remain in this pro se civil rights action
commenced by Plaintiff Major George Tillery: (1) retaliatory removal from his prison
job; and (2) retaliatory misconduct. The motion for summary judgment will be granted
in part and denied in part. Because Tillery failed to exhaust his administrative
remedies as to his demand for compensatory and punitive damages related to his
retaliatory termination claim, his request for compensatory and punitive damages with
respect to that claim will be dismissed without prejudice. But, the remainder of
Defendants’ motion will be denied because Tillery otherwise exhausted his claims, he
is able to establish a prima facie case as to both his retaliatory removal and retaliatory
misconduct claims, and Defendants have not presented a sufficient quantum of
evidence to obtain summary judgment as to either claim on their same decision
defense.
                                    I. Background
      The facts are derived from Defendants’ Statement of Facts and supporting
exhibits, (see Docs. 42-43 “Defs.’ SMF”, generally), as well as Plaintiff’s Counter-
Statement of Facts and supporting exhibits. (See Doc. 46, “Pl.’s SMF”, generally).
Plaintiff Major George Tillery (“Tillery”) is an inmate currently incarcerated with the
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 2 of 26



Pennsylvania Department of Corrections (“DOC”) at the State Correctional Institution
at Frackville (“SCI-Frackville”). (See Defs.’ SMF, ¶ 1; Pl.’s SMF, ¶ 1). Michael
Damore (“Damore”) was a Major at SCI-Mahanoy, Sean Downs (“Downs”) was a
Security Captain at SCI-Frackville, and Sharon Luquis (“Luquis”) was a Hearing
Examiner. (See Defs.’ SMF, ¶¶ 34,54, 63; Pl.’s SMF, ¶¶ 34, 54, 63). Tillery’s claims
pertain to events that occurred during his incarceration at SCI-Mahanoy and SCI-
Frackville in 2014 and 2015. (See Defs.’ SMF, ¶ 3; Pl.’s SMF, ¶ 3).
       From November 2014 to February 25, 2015, Tillery was a Certified Peer
Specialist (“CPS”) at SCI-Mahanoy. (See Defs.’ SMF, ¶¶ 36-37; Pl.’s SMF, ¶ 36-37).
According to Christine Griffin (“Griffin”), a Unit Manager at SCI-Mahanoy, she was
informed by several officers that Tillery never worked as a CPS, that mental health
roster inmates informed her that Tillery was not responsive to their concerns, and one
inmate told her that Tillery was attempting to extort him. (See Def.’s SMF, Ex. “O”,
¶¶ 1, 3, 5-6). Griffin also states that she had a counseling session with Tillery to
reinforce the expectations of the CPS position. (See id. at ¶ 7). Tillery disputes that
he intimated, harassed, or extorted any inmates and was not doing his job, noting that
all progress and block reports he received were satisfactory. (See Pl.’s SMF, Ex. “A”,
5). Tillery also denies that he had a counseling session with Griffin. (See id.). Rather,
Tillery explains that on February 18, 2015, he had a conversation with Griffin where
she threatened him with being designated a “Muslim combatant” if he kept filing
grievances. (See id. at Ex. “A”, 4). Later that day, there was an “investigative search”
of his cell. (See id.). Another search of Tillery’s cell occurred on February 25, 2015.
(See id.).
       On February 25, 2015, Tillery was removed from his job as a CPS by Damore.
(See Defs.’ SMF, ¶ 47, Pl.’s SMF, ¶ 47). Tillery was informed that he was removed
from his position only after he was moved cellblocks by Damore, who stated that the
move was to give Tillery a “new start.” (See Pl.’s SMF, Ex. “A”, 5). Damore declares
that Tillery was removed from his position based on negative behavior towards other
                                           2
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 3 of 26



inmates and that the removal had nothing to do with Tillery’s filing of grievances or
advocacy for other inmates. (See Defs.’ SMF, Ex. “L”, ¶¶ 11-12). According to
Damore and Griffin, even after Tillery was moved cellblocks, he continued to harass
some inmates, but Tillery disputes this allegation. (See Defs.’ SMF, ¶ 49; Pl.’s SMF,
¶ 49).
         Tillery filed grievance number 555752 concerning his removal from his CPS
position. (See Defs.’ SMF, ¶ 19; Pl.’s SMF, ¶ 19; see also Defs.’ SMF, Ex. “B”).
There is no dispute that this grievance was appealed to final review. (See Defs.’ SMF,
¶ 18; Pl.’s SMF, ¶ 18).
         On April 8, 2015, Tillery was transferred from SCI-Mahanoy to SCI-Frackville.
(See Defs.’ SMF, ¶ 51; Pl.’s SMF, ¶ 51). While Defendants state that the swap was
due to Tillery’s disruptive behavior, Tillery counters that he was informed at the time
that it was simply an “administrative swap.” (Id.).1 Tillery also notes that the transfer
was out of the ordinary in that it occurred early that morning and he was not given any
prior notice or the opportunity to pack his personal belongings and legal papers. (See
Pl.’s SMF, ¶ 51).
         On April 30, 2015, Downs reviewed mail addressed to Tillery. (See Defs.’
SMF, Ex. “M”). A statement prepared by Downs indicates that a suspicious substance
was observed under the postage stamp. (See id.). The substance tested positive for
suboxone. (See id.). Down’s statement further explains:
              It has been standard procedure for us to test substances.
              When met with positive results, we place the inmate in RHU,
              issue a misconduct, have the inmate provide a urine sample
              for testing and place the evidence in evidence locker.
(Id.). Downs issued misconduct number B723372 and placed Tillery in the restricted
housing unit (“RHU”). (See Defs.’ SMF, ¶ 59; Pl’s SMF, ¶ 59). Tillery was charged


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          In an interrogatory answer, Defendants indicate that Tillery was “a swap with
          another institution for another inmate. This is normal procedure within the
          Department of Corrections to do with inmates.” (See Pl.’s SMF, Ex. “K”, ¶ 2).

                                               3
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 4 of 26



with Class I #22 (possession or use of a dangerous or controlled substance) and Class
I #40 (unauthorized use of the mail or telephone) misconducts. (See Defs.’ SMF, Ex.
“I”, 1).
       Tillery proceeded to a hearing on the misconduct before Luquis, where he was
found guilty. (See Defs.’ SMF, ¶ 63; Pl.’s SMF, ¶ 63). According to Tillery, Luquis
stated that she found him guilty, she did not need any proof, and she sanctioned him
to 180 days in the RHU. (See Defs.’ SMF, ¶ 66; Pl.’s SMF, ¶ 66).
       In Luquis’ disciplinary hearing report, she notes, inter alia, that Tillery pled not
guilty and stated: “Anybody could have sent me that stuff, it was a set up.” (Defs.’
SMF, Ex. “I”). Luquis found “Downs’ written report more credible then Mr. Tillery’s
denial of charges #22 & #40.” (Id.). Luquis specifically indicated that Downs’ report
established by a preponderance of the evidence that a letter addressed to Tillery was
inspected, a substance was removed from under the stamp, and it tested positive for
suboxone. (See id.). Thus, she concluded that Tillery was guilty and he was
sanctioned with 180 days in the RHU. (See id.).
       Tillery submitted a misconduct hearing appeal on May 7, 2015 on the grounds
that the punishment was disproportionate to the offense and that the evidence was
insufficient to support the decision. (See id.). Therein, Tillery referred to the
misconduct as a “cold blooded set up”, explaining that “[t]he reason I know this
institution is out to get me is the so call[ed] incident happened on 4.30.15 and I got a
misconduct on 4.30.15 without any investigation & there is no evidence that I told,
order[ed], or ask[ed] anyone to mail anything to do with drugs.” (Id.).
       The Program Review Committee upheld Luquis’ verdict, reasoning:
             Considering the type of substance and the fact that the
             substance was concealed in a manner that a visual inspection
             alone would not have detected it’s presence; it is apparent
             that you were aware of the delivery system of the contraband
             and willing to facilitate its delivery into the facility.
             Taking into consideration the severity of the misconduct,
             coupled by the fact that the safety and security of the facility
             could have been compromised, Your sanction of 180 days
                                            4
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 5 of 26



              DC status is in accordance with policy and appropriate.
              [ ] You have presented no compelling argument or relevant
              new facts to support any modification of the HEX’s finding
              or sanction.
(Id.).
         Tillery appealed the Program Review Committee’s decision to SCI-Frackville’s
Superintendent Brenda Tritt (“Tritt”). (See id.). He reiterated his position that he was
“set up.” Tritt denied the appeal, stating that she was “inclined to agree with the
stance of first level and am going to sustain their decision. Pursuant to DC-ADM 801,
you present no compelling argument to support any modifications.” (Id.).
         Tillery then filed a final appeal to the Office of the Chief Counsel. (See id.).
The response to that appeal provided:
                    In your appeal you raise no specific issue(s), but
              instead repeat your version of the events to support your
              claim of innocence. This, of course, is the same version the
              Hearing Examiner rejected in finding you guilty of
              misconduct.
                     An appeal is a review for error. It is not an
              opportunity to receive a new hearing on the merits. Findings
              of fact are made by the Hearing Examiner. On appeal, it is
              not the function of this Office to second-guess the Examiner,
              but only to determine whether the findings are clearly
              documented in the record. In your case, the findings made
              by the Examiner are amply supported by evidence presented
              at your hearing. Whether this Office might reach a different
              result given the same evidence is not the issue. It is
              sufficient that the Examiner’s findings are supported by
              ample evidence to prevent this Office from altering those
              findings on appeal.
                     For the above-stated reasons, I conclude that the issues
              raised for appeal do not, as a matter of law, require any
              further action on this misconduct. Your appeal must,
              therefore, be denied.
(Id.).
         While Tillery’s appeals of that misconduct were pending, his counsel sent
correspondence to DOC Secretary John Wetzel disputing the validity of the facts
underlying those charges. (See Pl.’s SMF, Ex. “R”, generally). In particular, Tillery’s
counsel provided a declaration from Abdul H. Jamal, who resided at the address whose
                                            5
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 6 of 26



initials appeared on the envelope to Tillery that was found to contain suboxone. (See
id.). In his declaration, Jamal stated, in part, that he “mailed a letter to Major Tillery
at the end of April 2015 but I did not put any drug, narcotic or controlled substance
on the envelope or under the stamp.” (Id.). That declaration was also sent to Tritt for
consideration in May 2015. (See id. at Ex. “A”, 15).
      Based on the foregoing, Plaintiff commenced this action pro se on February 11,
2016. (See Doc. 1, generally). Motions to dismiss the Complaint were filed, and on
August 22, 2017, all claims except the First Amendment retaliatory termination claim
against Damore and the First Amendment retaliatory misconduct claim against Downs
and Luquis were dismissed. (See Doc. 24, generally). Following the close of
discovery, Defendants filed the instant motion for summary judgment. (See Doc. 40,
generally). That motion has been fully briefed and is now ripe for disposition.
                                  II. Legal Standard
      Summary judgment shall be granted “if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a). “A court may grant a motion for summary
judgment if, after it considers all probative materials of record, with inferences drawn
in favor of the non-moving party, the court is satisfied that there are no genuine issues
of material fact and the movant is entitled to judgment as a matter of law.”
Chavarriaga v. N.J. Dep’t of Corrs., 806 F.3d 210, 218 (3d Cir. 2015) (citing Celotex
Corp. v. Catrett, 477 U.S. 317, 330, 106 S. Ct. 2548, 2556, 91 L. Ed. 2d 265 (1986);
Brooks v. Kyler, 204 F.3d 102, 105 n.5 (3d Cir. 2000)). “A fact is ‘material’ under
Rule 56 if its existence or nonexistence might impact the outcome of the suit under the
applicable substantive law. A dispute over a material fact is ‘genuine’ if ‘a reasonable
jury could return a verdict for the nonmoving party.’” Santini v. Fuentes, 795 F.3d
410, 416 (3d Cir. 2015) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,
106 S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986)). “In determining whether the dispute
is genuine, the court’s function is not to weigh the evidence or to determine the truth
                                           6
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 7 of 26



of the matter . . . .” American Eagle Outfitters v. Lyle & Scott Ltd., 584 F.3d 587, 581
(3d Cir. 2009) (citing Anderson, 477 U.S. at 248-49, 106 S. Ct. 2505).
      The moving party bears the initial burden to identify “specific portions of the
record that establish the absence of a genuine issue of material fact.” Santini, 795 F.3d
at 416 (citing Celotex, 477 U.S. at 323, 106 S. Ct. 2548, 2553). If this burden is
satisfied by the movant, the burden then “shifts to the nonmoving party to go beyond
the pleadings and ‘come forward with specific facts showing that there is a genuine
issue for trial.’” Id. (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475
U.S. 574, 587, 106 S. Ct. 1348, 1356, 89 L. Ed. 2d 538 (1986)). The nonmovant’s
burden is not satisfied by “simply show[ing] that there is some metaphysical doubt as
to the material facts.” Chavarriaga, 806 F.3d at 218.
                                    III. Discussion
      The First Amendment to the United States Constitution reads, in part, that
“Congress shall make no law . . . abridging the freedom of speech . . .; or the right of
the people . . . to petition the government for a redress of grievances.” U.S. Const.
amend. I. “In order to establish illegal retaliation for engaging in protected conduct,
[a plaintiff] must prove that: (1) his conduct was constitutionally protected; (2) he
suffered an adverse action at the hands of prison officials; and (3) his constitutionally
protected conduct was a substantial or motivating factor in the decision to discipline
him.” Watson v. Rozum, 834 F.3d 417, 422 (3d Cir. 2016) (footnotes omitted) (citing
Rauser v. Horn, 241 F.3d 330, 333-34 (3d Cir. 2001)). Two First Amendment claims
remain in this action: (1) retaliation against Damore for the termination of Tillery’s
position as a CPS; and (2) retaliation against Downs and Luquis related to the
purportedly false misconduct. Defendants seek summary judgment on both claims.
A.    Retaliatory Termination.
      Tillery’s first remaining cause of action asserts that Damore terminated him
from his position as a CPS because of his filing of prison grievances and advocacy for
other inmates. This, claims Tillery, violated his rights under the First Amendment.
                                           7
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 8 of 26



Defendants contend that Damore is entitled to summary judgment on this claim
because: (1) Tillery failed to properly exhaust his available remedies with respect to
his request for compensatory and punitive damages; (2) there is no causal connection
between Tillery’s protected activity and his termination as a CPS; and (3) Damore
would have made the same decision to terminate Tillery’s employment regardless of
his protected conduct.
      1.     Exhaustion.
      Under the Prison Litigation Reform Act (PLRA), a prisoner is required to
pursue all available administrative remedies within the prison's grievance system
before bringing a civil rights action concerning prison conditions in federal court. See
42 U.S.C. § 1997e(a); Ross v. Blake, - - - U.S. - - -, 136 S. Ct. 1850, 1855-56, 195 L.
Ed. 2d 117 (2016). This “exhaustion requirement applies to all inmate suits about
prison life, whether they involve general circumstances or particular episodes, and
whether they allege excessive force or some other wrong.” Porter v. Nussle, 534 U.S.
516, 532, 122 S. Ct. 983, 992, 152 L. Ed. 2d 12 (2002).
      Exhaustion is mandatory and must be “proper,” which requires a prisoner to
“us[e] all steps that the agency holds out, and [to do] so properly (so that the agency
addresses the issues on the merits).” Woodford v. Ngo, 548 U.S. 81 90, 126 S. Ct.
2378, 2382, 165 L. Ed. 2d 368 (2006) (emphasis in original). This means that the
prisoner plaintiff must have completed “the administrative review process in
accordance with the applicable procedural rules, including deadlines, as a precondition
to bringing suit in federal court.” Id. The “filing [of] an untimely or otherwise
procedurally defective administrative grievance or appeal” does not satisfy the PLRA's
exhaustion requirement. Id. “The level of detail necessary in a grievance to comply
with the grievance procedures will vary from system to system and claim to claim, but
it is the prison’s requirements, and not the PLRA, that define the boundaries of proper
exhaustion.” Jones v. Bock, 549 U.S. 199, 218, 127 S. Ct. 910, 923, 166 L. Ed. 2d 798
(2007). Failure to comply substantially with the procedural requirements of the
                                          8
 Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 9 of 26



applicable prison's grievance system will result in a procedural default of the claim.
Spruill v. Gillis, 372 F.3d 218, 227-32 (3d Cir. 2004); Robinson v. Superintendent
Rockview SCI, 831 F.3d 148, 153 (3d Cir. 2016) (“[P]risoners must complete the
administrative review process in accordance with the applicable procedural rules, rules
that are defined not by the PLRA, but by the prison grievance process itself.”).
      Finally, whether an inmate has exhausted administrative remedies is a question
of law that is to be determined by the court, even if that determination requires the
resolution of disputed facts. See Small v. Camden Cty., 728 F.3d 265, 268 (3d Cir.
2013); see also Drippe v. Tobelinski, 604 F.3d 778, 781 (3d Cir. 2010).
      DOC Administrative Directive DC-ADM 804 governs the Inmate Grievance
System. (See Defs.’ SMF, Ex. “A”). The grievance policy provides inmates with a
multi-step administrative grievance appeal process to raise and resolve issues arising
during the course of their incarceration. (Id.). Pursuant to DC-ADM 804, inmates
must first file a grievance with the Facility Grievance Coordinator at the facility where
the events giving rise to the grievance occurred within fifteen working days of the
event upon which the grievance is based. (Id.). If unsatisfied with the initial response
to his or her grievance, the inmate may appeal the decision to the Facility Manager.
(Id.) The Facility Manager may uphold the initial response, find in favor of the
inmate, or remand the grievance to the Grievance Officer. (Id.). An inmate may
appeal the Facility Manager’s decision to final review by the Secretary's Office of
Inmate Grievances & Appeals. (Id.). “An inmate must exhaust all three levels of
review and comply with all procedural requirements of the grievance review process
in order to fully exhaust an issue.” Hudson v. Carberry, No. 15-1282, 2018 WL
6591812, at *5 (M.D. Pa. Dec. 14, 2018) (citations omitted).
      While Defendants do not contest that Tillery fully exhausted his First
Amendment retaliatory termination claim against Damore, they argue that he failed to
exhaust with respect to his request for compensatory and punitive damages related to
that cause of action. Defendants point to grievance number 555752, wherein Tillery
                                           9
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 10 of 26



wrote that he “want[ed] my job back in addition to my back-pay and I want to be free
from any and all retaliation from Ms. Griffin or Major Damore.” (See Defs.’ SMF, Ex.
“C”). This, argue Defendants, did not exhaust the present demand for punitive and
compensatory damages.
      In Spruill v. Gillis, the Third Circuit considered whether, pursuant to DC-ADM
804, an inmate procedurally defaulted his claim for monetary relief when none of his
three grievances requested money damages. See 272 F.3d at 233. The version of DC-
ADM 804 in effect at the time provided that “[t]he inmate may include a request for
compensation or other legal relief normally available from a court.” Id. The Spruill
court found that the prisoner was not precluded from seeking money damages in court
because “an optional procedural provision cannot give rise to a procedural default.”
Id.; see also id. at 234 (“In sum, Spruill cannot be said to have failed to follow the
regulations - and thus procedurally defaulted - in this respect. Nothing in the
Grievance System Policy would have put Spruill on notice that he had to ask for
money damages - or any particular form of relief at all.”). The court further noted that
the regulation at issue was a “far cry from, say, a regulation that reads, ‘If the inmate
desires compensation or other legal relief normally available from a court, the inmate
shall request the relief with specificity in his/her initial grievance.’” Id. The Third
Circuit went on to explain that if the DOC was “dissatisfied” with the its ruling, the
DOC could “alter the grievance system to require more (or less) of inmates by way of
exhaustion.” Id. at 235.
      The DOC has since adopted language similar to that suggested in Spruill. (See
Defs.’ SMF, Ex. “A”, § 1(A)(12)(d)). Specifically, that section in the regulation in
effect at the time Tillery filed his grievance stated: “[i]f the inmate desires
compensation or other legal relief normally available from a court, the inmate must
request the specific relief sought in his/her initial grievance.” (Id.).
      The Third Circuit, in a non-precedential opinion, recently addressed the impact
of the DOC’s amendment to DC-ADM 804 to its holding in Spruill. See Wright v.
                                           10
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 11 of 26



Sauers, 729 F. App’x 225, 227 (3d Cir. 2018). The Wright court emphasized that the
policy provision at issue in Spruill “permitted - but did not require - an inmate to
identify the relief sought (including monetary relief) in his grievance.” Id. (emphasis
in original) (citing Spruill, 272 F.3d at 233). “Subsequently, the Prison amended its
policy to include the mandatory language deemed lacking in Spruill. Indeed, as noted,
DC-ADM 804 now requires an inmate to specify whether he seeks ‘compensation or
other legal relief normally available from a court’ in his initial grievance. Since this
requirement is now mandatory, the District Court rightly held that [the plaintiff]
procedurally defaulted his claim for money damages by failing to request such relief
in his grievance.” Id. (internal citations omitted).2
      Tillery here procedurally defaulted his claim for compensatory and punitive
damages by failing to request such relief in his original grievance. There is no dispute
that Tillery sought reinstatement, back-pay, and to be free from retaliation in grievance
number 555752. (See Defs.’ SMF, Ex. “C”). But, this grievance did not include a
demand for legal relief. While Tillery argues that by requesting back-pay he
adequately sought money damages in the grievance process, “the request for back pay
under section 1983 seeks only equitable relief.” Laskaris v. Thornburgh, 733 F.2d
260, 263 (3d Cir. 1984) (“a claim for compensatory and punitive damages is a legal
claim”). Thus, because Tillery failed to seek legal relief in his administrative
grievance concerning his allegedly retaliatory termination, he procedurally defaulted
his claim for compensatory and punitive damages. See, e.g., Sanders v. Beard, No. 9-


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        Tillery also argues that the PLRA requires inmates to exhaust processes, not
        remedies. (See Doc. 45, 9). According to the Wright court, “[t]his argument fails.
        The Supreme Court has held that the Act ‘requires proper exhaustion.’ In this
        regard, ‘it is the prison’s requirements, [ ] not the [Act], that define the boundaries
        of proper exhaustion.’ Here, the Prison’s policy required Wright to specifically
        request monetary relief in his initial grievance. Because Wright failed to do so, he
        defaulted his claim for money damages.” Wright, 729 F. App’x at 227 (alterations
        in original) (internal footnotes omitted).

                                                11
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 12 of 26



1384, 2013 WL 1703582, at *6 (M.D. Pa. Apr. `9, 2013) (“Because Plaintiffs Diaz,
Stewart, and Bowen did not request monetary damages, which qualifies as
‘compensation or other legal relief normally available from a court,’ in their
grievances, they cannot do so in their Complaint. Their claims for monetary damages
will be dismissed, but their claims for injunctive relief against Defendants will remain
in the case and proceed to trial.”). Tillery’s request for compensatory and punitive
damages on this claim will be dismissed.
      2.     Prima Facie Case of Retaliation.
      As stated, a prima facie case of First Amendment retaliation requires proof of:
(1) constitutionally protected conduct; (2) adverse action at the hand of the prison
official; and (3) “a causal link between the exercise of his constitutional rights and the
adverse action taken against him,” or more specifically, “that his constitutionally
protected conduct was ‘a substantial or motivating factor’ in the decision” to take that
action. Rauser, 241 F.3d at 333. Defendants do not dispute that Tillery engaged in
constitutionally protected activity3 or that he suffered adverse action.4 Instead,
Defendants challenge Tillery’s ability to present a prima facie retaliatory termination
claim solely as to causation.
      As to the third prong, while causation can be established by direct or
circumstantial evidence, “motivation is almost never subject to proof by direct
evidence.” Watson, 834 F.3d at 422. Motivation is thus typically shown by “evidence


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        The filing of a prison grievance “implicates conduct protected by the First
        Amendment,” Mitchell v. Horn, 318 F.3d 523, 530 (3d Cir. 2003); Fantone v.
        Latini, 780 F.3d 184, 193 n.8 (3d Cir. 2015).
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        “[T]he termination of prison employment constitutes adverse action sufficient to
        deter the exercise of First Amendment rights.” Wisniewski v. Fisher, 857 F.3d
        152, 157 (3d Cir. 2017); Pepe v. Lamas, 679 F. App’x 173, 176 n.2 (3d Cir. 2017)
        (“the fact that a prisoner does not have a liberty or property interest in his former
        prison job does not foreclose his retaliation claim arising from the loss of that
        job.” (alterations omitted)).

                                               12
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 13 of 26



of either (1) an unusually suggestive temporal proximity between the protected activity
and the allegedly retaliatory action, or (2) a pattern of antagonism coupled with timing
that suggests a causal link.” Id. “‘[T]he timing of the alleged retaliatory action must
be unusually suggestive of retaliatory motive before a causal link will be inferred.’”
Id. at 424 (quoting Estate of Smith v. Marasco, 318 F.3d 497, 512 (3d Cir. 2003)).
“[C]ausation, like any other fact, can be established from the evidence gleaned from
the record as a whole.” Id. (citing Farrell v. Planters Liefesavers Co., 206 F.3d 271,
281 (3d Cir. 2000)). When showing causation through unusually suggestive timing,
the contemplated temporal proximity must be “on the order of days or weeks.” Rink
v. Northeastern Educ. Intermediate Unit, 717 F. App’x 126, 134 (3d Cir. 2017)
(citations omitted); see also Young v. City of Philadelphia Police Dep’t, 651 F. App’x
90, 98 (3d Cir. 2016) (span of eight days between protected conduct and alleged
retaliatory conduct was “suggestive of retaliation at the prima facie stage.”). “[W]here
the temporal proximity is not so close as to be ‘unduly suggestive,’ the appropriate test
is ‘timing plus other evidence.’” Watson, 834 F.3d at 424 (quoting Farrell, 206 F.3d
at 280).
      Based on the evidence of record, Tillery has pointed to facts demonstrating an
unusually suggestive proximity between his protected activity and his removal from
the CPS position, so summary judgment is not warranted. Specifically, Tillery filed
a number of grievances at SCI-Mahanoy between May 2014 and February 2015, both
before and after he began his job as a CPS. (See Pl.’s SMF, Ex. “A”, 2-3). On
February 18, 2015, Tillery voiced oral grievances to the SCI-Mahanoy Superintendent
regarding his medical treatment, treatment of elderly inmates, and the treatment of
another inmate’s medical condition. (See id.). That same day, he was threatened by
Griffin with the designation of a “Muslim combatant” if he did not cease filing
grievances. (Id. at 4). On February 20, 2015, Tillery filed another grievance. (See
id.). Two days later, February 22, 2015, Tillery was berated by Damore for going to
the Superintendent instead of him with his issues. (See id.). Three days later,
                                          13
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 14 of 26



February 25, 2015, Tillery was removed as a CPS. (See id.). The span of these events
is suggestive of retaliation at the prima face stage. See, e.g., Mack v. Yost, 427 F.
App’x 70, 73 (3d Cir. 2011) (allegation that prisoner lost his job one week after
complaining to a supervisor was sufficient to plead the third prong). Tillery has
established a prima facie case of retaliation with respect to his claim regarding his
removal as a CPS.
      3.     Same Decision Defense.
      Defendants also contend that irrespective of whether Tillery can establish a
prima facie case of retaliation, Damore is still entitled to summary judgment based on
the same decision defense. Under this defense, even where a plaintiff establishes a
prima facie case of retaliation, “prison officials may still prevail if they establish that
‘they would have made the same decision absent the protected conduct for reasons
reasonably related to a legitimate penological interest.’” Watson, 834 F.3d at 422
(quoting Rauser, 241 F.3d at 334).
      The entirety of Defendants’ argument in support of application of the same
decision defense is as follows:
                    Assuming Plaintiff can establish a prima facie case,
             there is ample evidence Damore would have made the same
             decision to terminate him for a legitimate reason anyway.
             Damore was informed that Plaintiff was harassing weaker
             inmates. Damore heard this from inmates and staff,
             including the Unit Manager. Thus, summary judgment
             should be granted in Damore’s favor.
(Doc. 41, 14; see also Doc. 48, 4 (“The record shows Damore acted on what he was
told for legitimate reasons. Thus, summary judgment should be granted in Damore’s
favor.”)).
      In opposition, Tillery disputes that summary judgment on the same decision
defense is warranted. In particular, Tillery points to his summary judgment evidence
that his progress and block reports were all satisfactory. He also notes that there were
no misconduct or separations ordered, and, if he was engaged in the behavior cited by
Defendants such as harassing or threatening inmates, then such a misconduct would
                                           14
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 15 of 26



have issued. Tillery therefore concludes that material facts are in dispute warranting
trial of the issue. (See Doc. 45, 19-20). I agree.
      The Third Circuit has noted that when “the record supports conflicting
inferences regarding [the defendant’s] motive” in taking allegedly retaliatory action,
summary judgment is not appropriate. Watson, 834 F.3d at 423. That is the case here.
The record contains evidence for which a reasonable juror could conclude that Tillery
was retaliated against for exercising his First Amendment rights, including Griffin’s
threats if he continued filing grievances and Damore’s response to Tillery’s oral
grievances to the Superintendent. Moreover, the record contains evidence that Tillery
had positive feedback and reviews in his performance as a CPS. While Damore points
in opposition to his testimony that he would have removed Tillery as a CPS regardless
of any protected activity, that alone does not support the entry of judgment in his
favor. See Williams v. Borough of West Chester, 891 F.2d 458, 460 (3d Cir. 1989)
(“[C]redibility determinations, the weighing of the evidence and the drawing of
legitimate inferences from the facts are jury functions, not those of the judge.”);
McAndrew v. Bucks Cty. Bd. of Comm’rs, 183 F. Supp. 3d 713, 739 (E.D. Pa. 2016)
(“Ratifying this stated reason would require the Court to inappropriately engage in the
weighing of evidence.”). Rather, on the evidence here, a reasonable fact-finder could
conclude that Tillery was removed from his position as a CPS in retaliation for his
protected activities. See, e.g., Rauser, 241 F.3d at 334. So summary judgment will
not be granted on the retaliatory termination claim.
B.    Retaliatory Misconduct.
      The other remaining cause of action asserts that Downs and Luquis filed and
found Tillery guilty of a false and retaliatory misconduct in violation of the First
Amendment based on his advocacy for himself and other inmates. Defendants seek
summary judgment on this claim on the grounds that: (1) the retaliatory misconduct
claim was not exhausted; (2) there is no causal connection between Tillery’s protected
activity and the filing of the misconduct charges; and (3) Downs and Luquis would
                                          15
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 16 of 26



have made the same decision to issue a misconduct and find him guilty of same
irrespective of Tillery’s protected conduct.
         1.    Exhaustion.
         Unlike Tillery’s grievance for his retaliatory termination claim which was
governed by DC-ADM 804, his challenge to his allegedly retaliatory and fabricated
misconduct was governed by DC-ADM 801, which provides an administrative
procedure for addressing inmate violations of DOC rules and policies. (See Defs.’
SMF, ¶ 26 & Ex. “H”; Pl.’s SMF, ¶ 26).5 Violations of rules or regulations can be
disposed of either formally or informally under DC-ADM 801. (See Defs.’ SMF, ¶ 27;
Pl.’s SMF, ¶ 27). “An inmate who has received a misconduct citation, i.e., a violation
of DOC rules and regulations with a resulting disciplinary measure, and seeks to
appeal that misconduct or allege a grievance in connection with the events
surrounding that misconduct, must use DC-ADM 801.” Hudson, 2018 WL 6591812,
at *6.
         Pursuant to DC-ADM 801, the initial misconduct is heard by a Hearing
Examiner. (See Defs.’ SMF, Ex. “H”). A sanction is imposed if a rules violation is
found. (See id.). An inmate may appeal the Hearing Examiner's findings to the
Program Review Committee within fifteen days of the hearing.                       (See id.)   If
dissatisfied with the PRC's ruling, the inmate may file an appeal to the Facility
Manager within seven days of the PRC's decision. (See id.). The final level of review
is an appeal to the DOC's Chief Hearing Examiner within seven days of the the


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          DC-ADM 804 states in pertinent part that “[a] grievance directly related to a
          specific inmate misconduct charge or a specific disciplinary sanction and/or the
          reasons for placement in administrative custody will not be addressed through the
          Inmate Grievance System and must be addressed through Department policy DC-
          ADM 801, ‘Inmate Discipline’ and/or DC-ADM 802, ‘Administrative Custody
          Procedures.’” (Defs.’ SMF, Ex. “A”, § 1(A)(7)); accord Hudson, 2018 WL
          6591812, at *6 (“DC-ADM 804 applies to all inmate grievances not connected
          with a misconduct citation.”).

                                               16
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 17 of 26



Facility Manager’s decision. (See id.).
      The parties do not dispute that Tillery was issued misconduct B723372 on April
30, 2015. (See Defs.’ SMF, ¶ 29; Pl.’s SMF, ¶ 29). The parties likewise agree that
Tillery was found guilty of this misconduct and he appealed Luquis’ verdict to the
Program Review Committee, the Facility Manager, and the Chief Hearing Examiner’s
Office. (See Defs.’ SMF, ¶¶ 30-31; Pl.’s SMF, ¶¶ 30-31); see also Hinton v. Mack,
No. 10-305, 2017 WL 4342204, at *10 (W.D. Pa. Sept. 29, 2017) (“Because Plaintiff
properly appealed all the way up to the Chief Hearing Examiner’s Office, Plaintiff
properly exhausted his administrate remedies under DC-ADM 801.”); Harris v.
Ferguson, No. 16-1965, 2017 WL 3611752, at *3 (M.D. Pa. Aug. 22, 2017)
(describing the three steps of review under DC-ADM 801, and noting that after the
appeal to the Office of the Chief Counsel, “an inmate will be deemed to have
exhausted administrative remedies.”); Walker v. Sec. Office of SCI-Coal Twp., No.
08-1573, 2010 WL 1177338, at *2-3 (M.D. Pa. Mar. 25, 2010) (stating that “the
inmate has one last avenue of appeal to the Office of the Chief Counsel” and noting
that “[o]nce all these steps are pursued, an inmate will be deemed to have exhausted
administrative remedies.”). Defendants contend, however, that Tillery did not
adequately exhaust his retaliatory misconduct claim through the DC-ADM 801
process because he “did not allege any retaliation by Downs or Luquis in his appeals.
Plaintiff merely claimed he was set up. Arguing he was set up is not the same as
raising retaliation by the Defendants.” (Doc. 48, 2; see also Doc. 41, 11-12).
Essentially, Defendants suggest that because the misconduct appeals did not use the
word “retaliation,” Tillery has not exhausted that claim. I am not convinced.
      In his hearing before Luquis, Tillery explained that anybody could have sent the
envelope with the illegal substance and that it was a “set-up.” (See Defs.’ SMF, Ex.
“I”). After being found guilty by Luquis, Tillery appealed to the Program Review
Committee, repeating his belief that it was a “set-up”, elaborating that he “knew this
institution [was] out to get” him because he was issued a misconduct “without any
                                          17
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 18 of 26



investigation,” and that he was given the maximum sentence by the hearing examiner
after she stated that his “reputation proceeds” him. (Id.). Tillery then appealed the
decision of the Program Review Committee to Superintendent Tritt, emphasizing that
the security report lacked witnesses or confidential sources connecting him to any
drugs, and, further, he reiterated that the charges were a “set up.” (See id.).
      Under DC-ADM 801, an appeal to the Program Review Committee “shall
include a brief statement of the facts relevant to the appeal.” (Defs.’ SMF, Ex. “H”);
see also Mack v. Warden Loretto FCI, 839 F.3d 286, 295 (3d Cir. 2016) (when a
policy is “silent or vague” regarding the level of detail required in a grievance, an
inmate must at least “alert[ ] the prison to the nature of the wrong for which redress
is sought.”). Tillery’s appeal provided more than adequate notice of his retaliation
claim in that he was alleging that the institution was out to get him, that he was “set
up”, and that he was found guilty based on his “reputation.” Thus, Tillery sufficiently
grieved his claim related to the allegedly false or fabricated misconduct he was issued
and found guilty of despite the fact that he did not use the term “retaliation” in his
appeals. See, e.g., Mack, 839 F.3d at 295 (finding unconvincing the argument that the
plaintiff’s First Amendment retaliation claim was unexhausted where the “grievance
never mentioned his oral complaint to Stephens about Roberts’ and Venslosky’s
anti-Muslim conduct - the alleged protected speech that forms the basis of his
retaliation claim”); see also Reyes v. Smith, 810 F.3d 654, 659 (9th Cir. 2016) (“The
grievance need not include legal terminology or legal theories, because the primary
purpose of a grievance is to alert the prison to a problem and facilitate its resolution,
not to lay groundwork for litigation.”); Varela v. Demmon, 491 F. Supp. 2d 442, 448
(S.D.N.Y. 2007) (finding First Amendment retaliation claim exhausted even though
the “grievance does not use the word ‘retaliation’ in describing what occurred.”).
      2.     Prima Facie Case of Retaliation.
      Defendants next argue that Downs and Luquis are entitled to summary judgment
on the retaliatory misconduct claim because Tillery is unable to demonstrate a causal
                                          18
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 19 of 26



connection between his protected activity and the adverse action taken against him.
Again, like the retaliatory termination claim, Defendants do not contest that Tillery
can demonstrate that he engaged in protected conduct6 or that he suffered an adverse
action.7 According to Defendants, no genuine issue of material fact exists on
causation as to this claim because “[t]he grievance regarding classification filed before
the misconduct did not involve Defendants. Advocacy for an inmate at another prison
did not involve defendants. Thus, Plaintiff cannot establish the third element.” (Doc.
41, 15). In opposition, Tillery points to the temporal proximity between his protected
activity and the retaliatory false misconduct combined with the surrounding
circumstances as sufficient to present a material issue for trial. (See Doc. 45, 21-23).
      Causation, as explained before, can be demonstrated through, inter alia, an
unusually suggestive temporal proximity or a pattern of antagonism coupled with
timing. See Lauren W. ex rel. Jean W. v. DeFlaminis, 480 F.3d 259, 267 (3d Cir.
2007). A reasonable jury on the facts here could infer the requisite causal connection
based on the time between Tillery’s protected conduct and the issuance of the
allegedly false misconduct report. Notably, Tillery engaged in a series of protected
activities, including raising written and oral grievances throughout his time at SCI-
Mahanoy until he was transferred to SCI-Frackville on April 8, 2015. Within days of
his transfer, Tillery, through counsel, complained to DOC officials regarding his
transfer, his adjusted security classification, and alleged retaliatory cell searches. (See
Pl.’s SMF, Ex. “A”, 10). On April 27, 2015, Tillery wrote to Superintendent Tritt
requesting a review of his file and an adjustment of his security classification, and two

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        As noted, the filing of a prison grievance implicates protected conduct, see
        Mitchell, 318 F.3d at 530, whether the grievance is made orally or in writing. See
        Mack, 839 F.3d at 300 (“we have little doubt concluding that prisoners’ oral
        grievances are indeed entitled to constitutional protection.”).
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        An inmate “clearly suffer[s] consequences when . . . charged . . . with
        misconduct,” such as “placement in restricted housing or restrictive confinement.”
        Watson, 834 F.3d at 423.

                                              19
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 20 of 26



days later he filed a grievance based on Superintendent Tritt’s refusal to conduct such
a review. (See id. at Ex. “A”, 10-11). The next day, April 30, 2015, Tillery was
charged with a misconduct. (See id.). The proximity between Tillery’s challenges to
his security classification and the misconduct charge are suggestive of retaliatory
motive.
      The record also contains evidence of a pattern of antagonism for which a
reasonable juror could find retaliatory animus.       Among other things, over an
approximate period of ten (10) weeks, Tillery was told that if he did not cease filing
grievances he would be designated a “Muslim combatant”, he was berated for
speaking with the SCI-Mahanoy Superintendent, he was terminated from his CPS
position, and he was transferred facilities without notice under allegedly suspect
circumstances. For these reasons as well, a jury could conclude that the misconduct
charges were filed against Tillery for retaliatory reasons. Tillery has therefore
demonstrated a prima facie case of retaliation.
      3.     Same Decision Defense.
      Lastly, Defendants argue that summary judgment in favor of Downs and Luquis
is warranted on the retaliatory misconduct claim pursuant to the same decision
defense. Defendants contend that ample evidence exists that, irrespective of Tillery’s
protected conduct, Downs would have made the same decision to issue the misconduct
and Luquis would still have found him guilty. This is so, Defendants’ insist, because
“[t]he envelope with the suspicious substance was addressed to Plaintiff. The
substance was tested and yielded a positive result for suboxone. Plaintiff was found
guilty of the misconduct. The finding of guilt on this quantum of evidence is enough
to defeat the retaliation claim.” (Doc. 41, 15). In opposition, Tillery emphasizes that
an administrative finding of guilt does not bar his First Amendment retaliation claim
pursuant to Watson. And, Tillery concludes that the quantum of evidence required to
establish the same decision defense has not been met here based on the “serious
disputes of material facts regarding the validity of the misconduct charges in addition
                                         20
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 21 of 26



to circumstantial evidence supporting causation.”           (Doc. 45, 25).     This, state
Defendants in reply, does not prevent entry of judgment in their favor based on the
same decision defense because Tillery is unable to refute that: (1) the envelope with
the substance was addressed to him; (2) the substance tested positive for suboxone;
and (3) he was found guilty of a misconduct. (See Doc. 48, 4).
       The Third Circuit addressed this defense in Watson. There, the inmate
plaintiff’s claim arose from the alleged mishandling of his radio during a search of his
cell. See Watson, 834 F.3d at 420. The plaintiff contended that the officer, Kline,
pulled the antenna out so far from his radio that it broke, while the officer claimed that
a portion of the antenna was already broken and secured by tape. See id. The plaintiff
agreed that the antenna was secured by tape, but insisted the antenna was only loose,
not broken. See id. Kline explained to the plaintiff that a broken radio was considered
contraband and had to be confiscated, which required the completion of certain
paperwork. See id. The plaintiff was angered when Kline, in completing that
paperwork, refused to take responsibility for breaking the antenna and then also
refused to prepare an incident report documenting that he broke the antenna. See id.
The plaintiff then asked a captain for a grievance form, but that request was denied.
See id. at 420-21.
       Later that day, the plaintiff was summoned to the prison security office where
a different officer, Coutts, purportedly stated that the plaintiff had given the other staff
members a “hard time” by asking for a grievance form and not dropping the matter,
so he was going to issue Plaintiff a misconduct. See id. at 421. Coutts also was
claimed to have said that the plaintiff did not handle the situation in “the polite way”
by insisting on filing a grievance. See id.
       The plaintiff later completed a grievance on a form he obtained from another
inmate, but before he could file it, he was issued a misconduct notice that was
prepared by Coutts citing him with a Class I misconduct. See id. The plaintiff was
ultimately found guilty of a misconduct before the hearing officer, but the charge was
                                            21
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 22 of 26



reduced to a Class II misconduct. See id. Imposed as a penalty was the confiscation
of the radio. See id. The plaintiff’s subsequent appeals were denied. See id.
Litigation ensued. See id. After all of the plaintiff’s claims were dismissed except his
retaliation claims, the remaining defendants in the action moved for summary
judgment on the First Amendment claim. See id. The district court granted the
motion, concluding that even if the plaintiff established a prima facie case of
retaliation, judgment in favor of the defendants was warranted based on the same
decision defense. See id. The plaintiff appealed. See id.
      After concluding that the plaintiff presented a prima facie case against one of
the four remaining defendants, Coutts, the Watson court considered whether he
established the same decision defense. Citing its precedent, the Third Circuit observed
that “most prisoners’ retaliation claims will fail if the misconduct charges are
supported by the evidence.” Id. at 425 (citing Carter v. McGrady, 292 F.3d 152, 157
(3d Cir. 2002)).8 In that regard, the court reiterated that the decisions of prison
administrators in the context of disciplinary proceedings are entitled to “great
deference.” See id. To determine “whether the prison officials’ decision to discipline
an inmate for his violations of prison policy was within the broad discretion” they
must be afforded, a court “evaluate[s] the ‘quantum of evidence.’” Id. at 426.
      The Watson court distinguished its facts from those in Carter, where, “given the
force of the evidence that Carter was guilty of receiving stolen property, . . . there was


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        In Carter, the inmate claimed he was given a misconduct in retaliation for his
        functioning as a jailhouse lawyer. See Carter, 292 F.3d at 153. The Carter court
        found the inmate’s claim unconvincing because “[e]ven if prison officials were
        motivated by animus to jailhouse lawyers, Carter’s offenses, such as receiving
        stolen property, were so clear and overt that we cannot say that the disciplinary
        action taken against Carter was retaliatory.” Id. at 159. Noting the “quantum of
        evidence” of the inmate’s misconduct, the Third Circuit was unable to “say that
        the prison officials’ decision to discipline Carter for his violations of prison policy
        was not within the broad discretion that [the court] must afford them.” Id.
        (quotation and citation omitted).

                                                22
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 23 of 26



no genuine issue of material fact that his misconduct citation was reasonably related
to legitimate penological interests, and that Carter would have been disciplined
notwithstanding his jailhouse lawyering.” Id. (citing Carter, 292 F.3d at 159). The
Third Circuit explained:
               Watson's situation is different. Watson's broken radio was
               not so “clear and overt” a violation that we can conclude that
               he would have been written up if he had not also given
               prison officials “a hard time.” The radio had allegedly been
               in the same condition for more than a year. Moreover, there
               is evidence that other inmates had radios with loose or
               broken antennas, but those items were not confiscated and
               the inmates did not receive a misconduct. Finally, Kline did
               not charge Watson with a misconduct when he confiscated
               the radio. Accordingly, a reasonable fact finder could
               conclude that the misconduct was issued in retaliation for
               Watson's statement that he was going to file a grievance, and
               not in furtherance of legitimate penological goals.
Id. The Watson court thus reiterated, consistent with Third Circuit precedent, that “a
plaintiff can make out a retaliation claim even though the charge against him may have
been factually supported.” Id. (citing Hill v. City of Scranton, 411 F.3d 118, 130 (3d
Cir. 2005)).
      In his concurrence in Watson, Judge Ambro observed that two questions were
raised by the Third Circuit’s decision in Carter. “First, what ‘quantum of evidence is
required to trigger Carter? And in cases where that ‘quantum’ has been reached, can
the same decision defense nonetheless fail?” Id. at 427 (Ambro, J., concurring). As
explained by Judge Ambro, “not every violation of prison protocols supported by
some evidence will bar a First Amendment retaliation claim” in the Third Circuit. Id.
at 431 (Ambro, J., concurring). This is so because “[i]f officials were allowed to hunt
for every minor instance of misconduct in an effort to punish inmates for their speech,
the First Amendment would ring hollow inside a prison’s walls.” Id. at 430. (Ambro,
J., concurring). With respect to the second question left opened by Carter, Judge
Ambro observed that the “proof that the official would not have taken the same action
in the absence of constitutionally protected activity” would need to be strong. Id.
(Ambro, J., concurring). Evidence that the official had “mixed motivations” would
                                            23
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 24 of 26



not be enough, since “[t]his is the situation where the same decision defense is
supposed to apply.” Id. (Ambro, J., concurring). But, “where there is direct evidence
that retaliation drove a charging decision, the defense does not shield a defendant from
liability.” Id. (Ambro, J., concurring). Judge Ambro cautioned against “overreading
[ ]his concurrence,” reiterating that “though a legitimate prison disciplinary report is
not an absolute bar to a retaliation claim, it is probative and potent summary judgment
evidence.” Id. at 431 (Ambro, J, concurring) (internal quotation and citation omitted).9
      Defendants have not established that the misconduct charge was supported by
a sufficient quantum of evidence, so judgment will not be entered in favor of Downs
or Luquis on the retaliatory misconduct claim. To be sure, there is some evidence to
support the misconduct charge, i.e., Tillery’s name on the envelope where the
suboxone was discovered. But, some evidence is not the standard in this Circuit.
Notably, this is the only evidence to connect him to the contraband. There is no
evidence that Tillery attempted to obtain the envelope from the mail room prior to the
discovery of the suboxone, nor is there evidence that Tillery tested positive for
suboxone (and it is unclear whether a urine test was conducted). Additionally, no
testimony was presented from inmates or corrections officers that Tillery was using
or distributing suboxone. Tillery also points to the declaration from Abdul Jamal that
denied placing suboxone on the envelope, as well as Tillery’s personal knowledge of
the prison mail system whereby all stamps are removed from mail before delivery to
an inmate, thus negating his motivation to seek contraband in such a manner.
Accordingly, while there is some evidence that Tillery engaged in misconduct, the
minimal showing presented does not meet the quantum of evidence standard
established by Carter and Watson. See, e.g., Harris v. Giroux, No. 16-38, 2019 WL


 9
        Judge Hardiman dissented in Watson, stating that “the evidence the parties have
        proffered on summary judgment establishes at most that a prison guard acted with
        mixed motive, which is not enough.” Watson, 834 F.3d at 431 (Hardiman, J.,
        dissenting).

                                             24
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 25 of 26



330459, at *11-12 (W.D. Pa. Jan. 25, 2019) (denying motion for summary judgment
on the same decision defense where only a “minimal quantum of evidence” in the form
of the officer’s version of events was presented to support a finding of guilt).
      Distilled to its core, Defendants’ same decision argument is that Tillery’s
finding of guilt “checkmates” his First Amendment retaliation claim. The so-called
“checkmate doctrine” developed from the United States Court of Appeals for the
Eighth Circuit’s decision in Henderson v. Baird, 29 F.3d 464, 469 (8th Cir. 1994).
This doctrine “provides that when a prison body finds that a person has committed an
actual violation of prison rules and the finding is based on some evidence of the
violation, the finding essentially checkmates the retaliation claim.” Maben v. Thelen,
887 F.3d 252, 261 (6th Cir. 2018) (citing and rejecting Henderson and holding that
“[a] finding of guilt at a prison misconduct hearing does not act as an absolute bar to
a prisoner’s First Amendment retaliation claim.”). But, the “some evidence” standard
does not apply in the Third Circuit as made clear by the Court of Appeals in Watson.
See Watson, 834 F.3d at 425 n.24 (noting its disagreement with Henderson as to the
applicable standard). Henderson is particularly inapplicable in this Circuit because,
as Judge Ambro explained in his Watson concurrence, in the Eighth Circuit “a plaintiff
has the burden to disprove the same decision” in prisoner retaliation cases, while, in
contrast, the Third Circuit has placed “the burden in prisoner retaliation cases on the
defendant to establish the same decision defense.” Id. at 429 (Ambro, J., concurring)
(citing Rauser, 241 F.3d at 333 & n.2 (adopting Mount Healthy Bd. of Ed. v. Doyle,
429 U.S. 274, 97 S. Ct. 568, 50 L. Ed. 2d 471 (1977) as the applicable standard for
evaluating prisoner retaliation claims)); see also Maben, 887 F.3d at 263 (“adopting
the checkmate doctrine” would render the “Mount Healthy burden-shifting framework
superfluous”); but see Watson, 834 F.3d at 432 (Hardiman, J., dissenting) (stating that
the majority “neither accepts nor rejects” the “proposition” that a “certain quantum of
evidence will checkmate a prisoner’s retaliation claim”). While mindful that “the
decisions of prison administrators are entitled to” “great deference” “in the context of
                                          25
Case 3:16-cv-00235-ARC-PT Document 51 Filed 02/07/19 Page 26 of 26



disciplinary proceedings,” Tillery’s finding of guilt does not, by itself, bar his First
Amendment retaliatory misconduct claim. Watson, 834 F.3d at 426; see also Maben,
887 F.3d at 263; Harris, 2019 WL 330459, at *11-12. Summary judgment will
therefore be denied on Tillery’s claim against Downs and Luquis.
                                   IV. Conclusion
      For the above stated reasons, Defendants’ motion for summary judgment will
be granted in part and denied in part.         Because Tillery did not exhaust his
administrative remedies with respect to his demand for compensatory or punitive
damages on his retaliatory termination claim, the demand for those remedies as to that
claim will be dismissed without prejudice. The motion for summary judgment will be
denied in all other respects.
      An appropriate order follows.


February 7, 2019                                  /s/ A. Richard Caputo
Date                                              A. Richard Caputo
                                                  United States District Judge




                                          26
